                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                 3:05-CR-400-FDW-12

UNITED STATES OF AMERICA,                  )
                                           )
       Plaintiff,                          )
                                           )                       ORDER
v.                                         )
                                           )
MICHAEL ROBERT KEARNS,                     )
                                           )
       Defendant.                          )


        THIS MATTER is before the Court upon Mr. Kearns’ Consent Motion to Deposit

 Proceeds (Doc No. 315). For good cause shown, the Motion is GRANTED.

        It is therefore ORDERED that Mr. Kearns is authorized to deposit into the Court Registry

 a check in the amount of $3,000.00. The Clerk of Court will process said proceeds in its normal

 and ordinary course.

        SO ORDERED.

                                               Signed: February 24, 2009




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